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Presented to the Court by the foreman of the
Grand Jury in open Court, in the presence of
the Grand Jury and FILED in the U.S.
DISTRICT COURT at Seattle, Washington.

 

 

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

 

 

AT SEATTLE
UNITED STATES OF AMERICA, \ NOC R 1 8 "" 1 |7 2 Jcc
Plamtlff’ INDICTMENT
v.
DEXTER JORGENSEN,
Defendant.
The Grand Jury charges that:
Q.U_N_'l_`_$_l_:§
(Wire Fraud)

At all times relevant to this Indictment:

A. Introduction _
l. DEXTER JORGENSEN was a South Dakota resident and the owner of

various businesses incorporated or located in South Dakota, including but not limited to: s
Midwest Processing, LLC.; Blackburn F arms and Recycling; Missouri Valley Farms,
Inc.; Jorgensen Farms, Inc.; and DJ Farms, Inc. Each of these entities purported to be in
the business of recycling and repurposing food and beverage products into animal feed

and for agricultural uses.

UNITED STATES V. DEXTER JORGENSEN/ - l 7U00N;TED STASTES AT;ORI‘;];§G
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INDICTMENT SEATTLE, WASHINGTON 98101
(206) 553-7970

 

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2. Randy Sparks was the owner of Silver Dollar Sales, which was a
Mississippi-based wholesaler and reseller of salvage and discount grocery items, among
other things. _

3. Company A was a Massachusetts-based disposal broker in the food and
beverage recycling and destruction industry. Company A contracted with food and
beverage manufacturers, and other entities, to arrange to dispose of, destroy, or recycle
unsaleable food and beverage products by pairing those manufacturers With processors,
such as DEXTER JORGENSEN.

4. Food and Bcverage Company 1 was a Washington-headquartered
manufacturer of fruit juices (including apple juice) and other fruit products.

B. The Scheme and Artifice to Defraud

5. Beginning no later November 2008, and continuing to in or about
November 2017, at Seattle, in the Western District of Washington, and elsewhere,
DEXTER JORGENSEN, and others known and unknown to the Grand Jury knowingly
devised a scheme and artifice to defraud food and beverage manufactures, including but
not limited to Food and Bcverage Company l, food and beverage disposal brokers,
including but not limited to Company A, and others, and to obtain money and property by
means of materially false and fraudulent pretenses, representations and promises, as
further described below.

6. The essence of the scheme and artifice to defraud was to cause food and
beverage disposal brokers, food and beverage manufacturers, and other sources of
grocery products, to transfer products deemed unsaleable to DEXTER JORGENSEN by
representing, and providing false documentation showing, that the products would be
transported to South Dakota and would be destroyed, recycled, or repurposed as animal
feed or for agricultural uses, when in fact, the products would be resold to Randy Sparks

and others for sale on the discount food and beverage marketplace for human

consumption
UNITED STATES V. DEXTER JORGENSEN/ ~ 2 UNITED STATES ATTORNEY
INDICTMENT 700 STEWART STREET, Sum~; 5220

SEATTLE, WAsHINGToN 98101
(206) 553-7970

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C. Manner and Means of the Scheme and Artifice to Defraud
7. DEXTER JORGENSEN, Randy Sparks, and their co-schemers, through the

actions of themselves and others acting under their direction, used the following means
and acted in the following manner, among others, to effect the scheme and artifice to
defraud:

a. lt was part of the scheme and artifice to defraud that DEXTER
JORGENSEN represented to Company A, other food disposal brokers, and food and
beverage manufacturers the capacities and purpose of his various South Dakota-based
businesses to destroy, recycle, repurpose, and convert food, beverage, and other products

to animal feed and agricultural uses.

b. lt was further part of the scheme and artifice to defraud that
DEXTER JORGENSEN and Randy Sparks represented to Company A, other disposal
brokers, and food and beverage manufacturers that unsaleable product would be shipped
to one of DEXTER J()RGENSEN’s South Dakota-based businesses for destruction,
which representations caused Company A and other disposal brokers to enter into

agreements for product destruction and repurposing with food and beverage companies

c. lt was further part of the scheme and artifice to defraud that
DEXTER JORGENSEN, Randy Sparks, and others, purported to arrange for
transportation of the product from the manufacturer to one of DEXTER J()RGENSEN’s
business locations in South Dakota. ln fact, rather than transport the product from the
manufacturer to South Dakota, as promised, DEXTER JORGENSEN sold the product to
Randy Sparks, or another discount grocery entity, for resale on the secondary grocery

market, and the product was transported in interstate commerce to the purchaser.

d. lt was further part of the scheme and artifice to defraud that
DEXTER JORGENSENencouraged Randy Sparks to misrepresent the name of his
business as Silver Dollar Logistic's to cause Company A to believe he was transporting

products to DEXTER JORGENSEN in South Dakota, when Randy Sparks was not.

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INDICTMENT ` 700 STEWART STREET, SUITE 5220
SEATTLE, WASHINGTON 98101
(206) 553-7970

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e. lt Was further part of the scheme and artifice to defraud that
DEXTER JORGENSEN, Randy Sparks, and others, provided, or caused another person
to provide, false and altered Bills of Lading or other transportation documents to
Company A, other disposal brokers, and Various food and beverage manufacturers,
showing the product had been shipped from the manufacturer’s warehouse to South
Dakota for destruction, when in fact, the product was shipped from the manufacturer’s

warehouse to another state for resale in the discount grocery market.

f. lt was part of the scheme and artifice to defraud that DEXTER
JORGENSEN provided false Certificates of Destruction or Certificates of Disposal to
Company A and other disposal brokers showing products had been shipped to South
Dakota to be destroyed, when in fact, DEXTER JORGENSEN, Randy Sparks, and others

had resold the products to discount groceries and other consumers

g. lt was further part of the scheme and artifice to defraud that
DEXTER JORGENSEN and Randy Sparks photographed or caused others to photograph
small amounts of the shipped product, purporting to show that the entire shipment had
been destroyed, when, in fact, the majority of the product was resold on the secondary
grocery market. DEXTER JORGENSEN and Randy Sparks knew the photographs
would be provided to food and beverage manufacturers as evidence of product

destruction.

h. lt was further part of the scheme and artifice to defraud that
DEXTER JORGENSEN regularly changed the name of his business entity when a food
and beverage manufacturer became suspicious that product intended for destruction had
been resold, or when civil litigation was initiated against DEXTER JORGENSEN for the
same or similar conduct to that alleged in this lndictment. These corporate name changes
were communicated by DEXTER JORGENSEN to Randy Sparks and others in order to

facilitate the transportation and resale of food and beverage products.

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INDICTMENT ‘ 700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98 101
(206) 553-7970

 

 

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Food and Bcverage Company 1 Transactions
i. On or about May 18, 2015, Food and Bcverage Company l arranged

with Company A to broker the destruction of approximately 22 truckloads of apple juice.
Each truckload contained approximately 756 cases, each containing six, one-gallon
bottles of apple juice. Food and Bcverage Company l and Company A agreed that the
apple juice would be transported to DEXTER JORGENSEN in South Dakota for
destruction due to the existence of mold in samples. lt was further part of the scheme and
artifice to defraud that on the same day, DEXTER JORGENSEN agreed with Company
A to take possession of the apple juice and destroy it at his facility in South Dakota.

j. lt was further part of the scheme and artifice to defraud that between
May 18, 2015, and June 2, 2015, unbeknownst to Company A or Food and Bcverage
Company 1, DEXTER JORGENSEN agreed to sell the truckloads of apple juice to
Randy Sparks for $1000 U.S. Dollars per truckload.

k. lt was further part of the scheme and artifice to defraud that, at
various dates beginning on or about June 10, 2015, and continuing through August 7,
2015, Randy Sparks arranged with PiggyBack Plus, a transportation logistics company, to
pick up the loads of apple juice in Selah, Washington, and ship the apple juice to various

wholesale and resale discount grocery locations in Mississippi and California.

l. lt was further part of the scheme and artifice to defraud that, at
various dates between June 10, 2015 and July 24, 2015, DEXTER JORGENSEN, Randy
Sparks, and others, caused at least 17 truckloads of apple juice to be shipped from Selah,
Washington, to the Union Pacific Railroad (UPRR) terminal in Seattle, Washington,
Upon arrival at the UPRR terminal, UPRR employees in Seattle, Washington initiated a
wire communication to UPRR servers, located in Omaha, Nebraska, confirming the
shipper identity and other required information, prior to accepting the truckloads of apple
juice for rail transport. The cargo containers of apple juice were then loaded on Union

Pacific railcars to be shipped to Marion, Arkansas, for ultimate delivery to Randy Sparks

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INDICTMENT 700 STEWART STREET, SUITE 5220
SEATTLE, WAsHINGToN 98101
(206) 553-7970

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in Mississippi

m. lt was further part of the scheme and artifice to defraud that, at
various dates, between July 6, 2015 and August 27, 2015, DEXTER JORGENSEN
provided false Bills of Lading and Certificates of Disposal to Company A related to

approximately 22 loads of apple juice. T he Bills of Lading showed the apple juice was
transported to South Dakota and the Certificates of Disposal showed it was destroyed.

n. lt was further part of the scheme and artifice to defraud that on or
about November 18, 2015, after Food and Beverage Company l’s product had been
discovered in a discount grocery store in the State of Maryland, DEXTER JORGENSEN l
provided a letter to Company A falsely stating that “quite a few” of the loads had been
moved to South Dakota and that DEXTER JORGENSEN was “completely under the
impression that all of the product was being disposed of properly in the manner that

[Company A] requested.”

D. Execution of the Scheme and Artifice to Defraud

8. As representative examples of the scheme and artifice to defraud, on or
about the below-listed dates, at Seattle, within the Western District of Washington, and
elsewhere, DEXTER JORGENSEN, having devised the above-described scheme and
artifice to defraud, and to obtain money and property by means of materially false and

fraudulent pretenses, representations, and promises, and for the purpose of executing the

n scheme and artifice to defraud, transmitted and caused to be transmitted by means of wire

in interstate commerce, writings, signs, signals, pictures and sounds, with each separate

transmission constituting a separate count of this lndictment.

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UNITED STATES v. DEXTER JORGENSEN/ - 6 UNITED STATES ATTORNEY
INDICTMENT 700 STEWART STREET, SurrE 5220

SEATTLE, WASHrNGToN 98101
(206) 553-7970

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Count

Date

Wire Transmission

 

June 10, 2015

ln-Gate notification transmission from

UPRR terminal in Seattle, Washington to
UPRR server in Omaha, Nebraska for one ,
truckload of apple juice.

 

June 23, 2015

ln-Gate notification transmission from
UPRR terminal in Seattle, Washington to
UPRR server in Omaha, Nebraska for one
truckload of apple juice.

 

June 26, 2015

ln-Gate notification transmission from
UPRR terminal in Seattle, Washington to
UPRR server in Omaha, Nebraska for one
truckload of apple juice.

 

luly 8, 2015

ln-Gate notification transmission from
UPRR terminal in Seattle, Washington to
UPRR server in Omaha, Nebraska for one
truckload of apple juice.

 

 

 

July 22, 2015

 

ln-Gatc notification transmission from
UPRR terminal in Seattle, Washington to
UPRR server in Omaha, Nebraska for one
truckload of apple juice.

 

All in violation of Title 18, United States Code, Sections 1343 and 2.

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(Conspiracy to Transport Property Taken by Fraud in Interstate Commerce)

9. The United States re-alleges and incorporates paragraphs 1~8 of this

lndictment.

10. Beginning no later than January 2014, and continuing to in or about

September 2017, at Seattle, in the Western District of Washington, and elsewhere,
DEXTER JORGENSEN, Randy Sparks, and others known and unknown to the Grand

lury unlawfully combined, conspired, confederated, and agreed to commit the following

offense: interstate transportation of property stolen, converted, and taken by fraud, in

violation of Title 18, United States Code, Section 2314.

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UNITED STATES ATTORNEY
700 STEWART STREET, SUlTE 5220
SEATTLE, WAsHINGToN 98101

(206) 553-7970

 

 

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ll. The object of the conspiracy was to cause Company A, food and beverage
manufacturers, and other sources of grocery products, to transfer products deemed
unsaleable to DEXTER JORGENSEN by representing and providing documentation
showing that the products would be transported to South Dakota and would be destroyed,
recycled, or repurposed as animal feed or for agricultural uses, when in fact, the products
would be resold to Randy Sparks and others for sale on the discount food and beverage
marketplace for human consumption and would be transported in interstate commerce to
the State in which they would be sold.

12. The Manner and Means of the Conspiracy are laid out in paragraph 7
above.

13. ln furtherance of the conspiracy and in order to achieve the objectives
thereof, DEXTER JORGENSEN, Randy Sparks, and their co-conspirators, known and
unknown to the Grand Jury, jon or about the dates specified below, committed or caused
to be committed, the following transactions and associated activities, which are
representative examples of overt acts in the Western District of Washington and
elsewhere: _

a. On or about May 18, 2015, Food and Bcverage Company 1 arranged
with Company A to broker the destruction of approximately 22 truckloads of apple juice.
Each truckload contained approximately 756 cases, each containing six, one-gallon
bottles of apple juice. Food and Bcverage Company 1 and Company A agreed that the
apple juice would be transported to DEXTER JORGENSEN in South Dakota for
destruction On or about the same day, after a representative from Company A had told
DEXTER JORGENSEN that Food and Bcverage Company 1 wanted the loads of apple
juice destroyed, DEXTER JORGENSEN agreed with Company A to take possession of
the apple juice and destroy it at his facility in South Dakota.

b. Between May 18, 2015, and June 2, 2015, unbeknownst to Company
A or Food and Bcverage Company 1, DEXTER JORGENSEN agreed to sell the

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lNDICTMENT - 700 STEWART STREET, SUm~: 5220
SEATTLE, WASHINGTON 98101

(206) 553-7970

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truckloads of apple juice to Randy Sparks for 31000 U.S. Dollars per truckload.

c. On or about June 2, 2015, Randy Sparks told a representative from
Company A that he would transport the product from Washington to South Dakota.

d. At various dates beginning on or about June 10, 2015, an'd

continuing through August 7, 2015 , Randy Sparks arranged with PiggyBack Plus, a

transportation logistics company, to pick up the loads of apple juice in Selah,

Washington, and ship the apple juice to various wholesale and resale discount grocery

locations in Mississippi and California.

e. At various dates between June 10, 2015 and July 24, 2015,
DEXTER JORGENSEN, Randy Sparks, and others, caused at least 17 truckloads of
apple juice to be shipped from Selah, Washington, to the Union Pacific Railroad (UPRR)
terminal in Seattle, Washington, where they were loaded on Union Pacific railcars. The

containers were then shipped to Marion, Arkansas.

f. ()n or about July 6, 2015, with the knowledge that the records would
be provided to Food and Beverage`Company 1, DEXTER JORGENSEN provided false
Bills of Lading and false Certificates of Disposal to Company A related to 6 loads of
apple juice. The Bills of Lading showed the apple juice was transported to South Dakota
and the Certificates of Disposal showed it was destroyed. '

g. On or about luly 16, 2015, with the knowledge that the records
would be provided to Food and Bcverage Company l, DEXTER JORGENSEN provided
false Certificates of Disposal and false Bills of Lading to Company A related to 5 loads
of apple juice. The Bills of Lading showed the apple juice was transported to South
Dakota and the Certificates of Disposal showed it was destroyed.

h. On or about August 4, 2015, with the knowledge that the records
would be provided to Food and Beverage Company 1, DEXTER JORGENSEN provided
false Certificates of Disposal and false Bills of Lading to Company A related to 5 loads

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700 STEWART TREET, UITE
INDICTMENT SEATTLE, WASHrNGToN 98101
(206) 553-7970

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of apple juice. The Bills of Lading showed the apple juice was transported to South
Dakota and the Certificates of Disposal showed it was destroyed.

i. On or about August 13, 2015, with the knowledge that the records
would be provided to Food and Beverage Company 1, DEXTER JORGENSEN provided
false Certificates of Disposal and false Bills of Lading to Company A related to 4 loads
of apple juice. The Bills of Lading showed the apple juice was transported to South
Dakota and the Certificates of Disposal showed it was destroyed. 4

j. On or about August 27, 2015, with the knowledge that the records
would be provided to Food and Bcverage Company 1, DEXTER JORGENSEN provided
false Certificates of Disposal and false Bills of Lading to Company A related to 2 loads
of apple juice. The Bills of Lading showed the apple juice was transported to South
Dakota and the Certificates of Disposal showed it was destroyed.

k. On or about November 18, 2015, after Food and Bcverage
Company l’s product had been discovered in a discount grocery store in the State of
Maryland, DEXTER JORGENSEN provided a letter to Company A falsely stating that
“quite a few” of the loads had been moved to South Dakota and that DEXTER
JORGENSEN was “completely under the impression that all of the product was being
disposed of properly in the manner that [Company A] requested.” DEXTER
JORGENSEN and Randy Sparks had discussed and collaborated on the fraudulent letter
to Company A before DEXTER JORGENSEN sent it.

14. At various dates between January 2014 and September 2017, DEXTER
JORGENSEN, Randy Sparks, and others engaged in similar conduct involving more than
180 truckloads of food and beverage products obtained from at least twelve different
manufacturers

15. ln each instance, DEXTER JORGENSEN provided false Certificates of
Disposal and/or Destruction and false Bills of Lading to Company A for truckloads of

product, which were sold by DEXTER JORGENSEN to Randy Sparks, or others, for

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INDICTMENT o 700 STEWART STREF.T, SUITE 5220
SEATTLE, WASHINGTON 98101
(206) 553-7970

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resale on the discount grocery market and never transported to South Dakota for
destruction, as promised.
All in violation of Title 18, United States Code, Section 371.

COUNT 7
(Interstate Transportation of Property Taken By Fraud)

16. The Grand Jury realleges and incorporates by reference Paragraphs 1
through 15 of this lndictment.

17. From on or about June 10, 2015, through July 24, 2015, at Seattle, within
the Western District _of Washington, and elsewhere, DEXTER JCRGENSEN did
unlawfully transport, transmit, and transfer, and aid and abet the transporting, l
transmitting, and transferring, in interstate commerce, from Seattle, Washington, to other
states, goods, wares, merchandise, securities and money, that is, approximately 17
truckloads of Food and Bcverage Company 1-brand apple juice, of the value of $5,000 or
more, knowing the same to be stolen, converted, and taken by fraud.

All in violation of Title 18, United States Code, Section 2314 and Section 2.

ASSET FORFEITURE ALLEGATION

18. The allegations contained in Counts 1-7 of this lndictment are hereby
realleged and incorporated by reference for the purpose of alleging forfeiture pursuant to
Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States Code,
Section 2461(c).

19. Pursuant to Title 18, United States Code, Section 981(a)(1)(C) and Title 28,
United States Code, Section 2461(c), upon conviction of any of the offenses alleged in
Counts 1-7 of this lndictment, the Defendant, DEXTER JORGENSEN, shall forfeit to
the United States any property, real or p’ersonal, which constitutes or is derived from
proceeds traceable to such offense, or a conspiracy to commit such offense, including but
not limited to a judgment for a sum of money representing any property which constitutes

or is derived from proceeds traceable to such offense or a conspiracy to commit such

UNITED sTATEs v. DEXTER JoRGENsEN/ - 11 IJ(I)`I;TED ST"}STES ATSTORT`;§§O
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INDICTMENT SEATTLE, WASHINGroN 98101
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offense.Substitute Assets. lf any of the above-described forfeitable property, as a result
of any act or omission of the Defendant: l
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;
c. has been placed beyond the jurisdiction of the Court;
d. has been substantially diminished in value; or g
e. has been commingled with other property which cannot be divided without
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SEATTLE, WASHINGTON 98101
(206) 553-7970

 

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it is the intent of the United States, pursuant to Title 21, United States Code, Section
853(p) and Title 28, United States Code, Section 2461(c), to seek the forfeiture of any
other property of the Defendant, up to the value of the above-described forfeitable

property.

A TRUE BILL:

DATED: 7/|%/<{§

Signature of the foreperson is redacted
pursuant to the policy Of the Judicial
Conference of the United States

 

FOREPERSON

United States Att rne

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ANDREW C. FRIEDMAN
Assistant United States Attorney

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MATTHEW D. DIGGS O
Assistant United States Attorney

UNITED STATES v. DEXTER JORGENSEN/ - 13 > UNITED STATES ATTORNEY
INDICTMENT 700 SrEwART STREET, Stan 5220
' SEATTLE, WASHrNGToN 98101
(206) 553-7970

